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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 ROCKETFUEL BLOCKCHAIN COMPANY                               21 Civ. 1764 (VEC)
 and ROCKETFUEL BLOCKCHAIN, INC.,
                                                             DEFENDANT’S NOTICE OF
                                 Plaintiffs,                 MOTION TO DISMISS
                                                             THE SECOND AMENDED
                     -against-                               COMPLAINT

 ELLENOFF GROSSMAN & SCHOLE LLP,
                                                             ORAL ARGUMENT
                                 Defendant.                  REQUESTED


       PLEASE TAKE NOTICE that, pursuant to this Court’s Memo Endorsement, dated June

23, 2021 (Docket No. 32), and upon the accompanying Declaration of Philip Touitou, dated July

14, 2021 and the exhibits annexed thereto, the Memorandum of Law, dated July 14, 2021 and

submitted herewith, and all prior pleadings and proceedings in this action, Defendant Ellenoff

Grossman & Schole LLP, by and through its undersigned counsel, Akerman LLP, hereby moves

this Court before the Honorable Valerie Caproni at the Thurgood Marshall United States

Courthouse for the Southern District of New York, 40 Foley Square, Courtroom 443, New York,

New York 10007, for an Order granting dismissal, with prejudice, of the Second Amended

Complaint filed by Plaintiffs Rocketfuel Blockchain Company and Rocketfuel Blockchain, Inc.

(collectively “Plaintiffs”), pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure,

together with such other and further relief as this Court may deem just and proper.

       PLEASE TAKE FURTHER NOTICE that pursuant to this Court’s Memo Endorsement,
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Plaintiffs’ response, if any, is due no later than August 13, 2021.

Dated: New York, NY
       July 14, 2021
                                              Respectfully submitted,

                                              AKERMAN LLP

                                                       Philip Touitou
                                              By: ___________________________
                                                        Philip Touitou, Esq.
                                                        Steven M. Cordero, Esq.

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                                              Attorneys for Defendant




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